     Case 4:23-cr-00218        Document 48         Filed on 12/11/23 in TXSD      Page 1 of 1
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                               UNITED STATES DISTRICT COURT                             December 11, 2023
                                SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk

                                     HOUSTON DIVISION



UNITED STATES OF AMERICA                           §
                                                   §      CRIMINAL NO: 4:23-cr-218-S
                                                   §
                   V.
                                                   §
                                                   §
DHIRENKUMAR VISHNUBHAI PATEL                       §
Memo for Alias:                                    §
                                                   §
                                                   §
                                                   §
                                                   §
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                                                   §
                                                   §



                              ORDER FOR ISSUANCE OF NOTICE



    A        SUPERSEDING INFORMATION
                                               has been filed against the defendant who is

             Released on Condition      Detained       In Custody    It is

        ORDERED that a notice be issued for the appearance of said defendant     December 15, 2023


   at        2:00 pm     .



                                                   December 11         , 20 23     .
        SIGNED at Houston, Texas, on




                                       UNITED STATES MAGISTRATE JUDGE
